Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 1 of 10




                           EXHIBIT A
                   Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 2 of 10




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 15160754
Notice of Service of Process                                                                            Date Processed: 05/17/2016

Primary Contact:            Anne Milem
                            Navient Corporation
                            2001 Edmund Halley Drive
                            Reston, VA 20191

Copy of transmittal only provided to:          Nicola Murphy

Entity:                                       Navient Corporation
                                              Entity ID Number 3268736
Entity Served:                                Navient Corporation, a/k/a Navient Corp
Title of Action:                              James Valletta vs. Navient Corporation aka Navient Corp
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Violation of State/Federal Act
Court/Agency:                                 Maricopa County Superior Court, Arizona
Case/Reference No:                            CV2016-003173
Jurisdiction Served:                          Delaware
Date Served on CSC:                           05/16/2016
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           James Valletta
                                              602-264-7101

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscinfo.com
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 3 of 10
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 4 of 10
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 5 of 10
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 6 of 10
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 7 of 10
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 8 of 10
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 9 of 10
Case 2:16-cv-01934-DGC Document 1-1 Filed 06/15/16 Page 10 of 10
